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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



  IN RE SUBPOENAS SERVED ON
                                                 Misc. Case No. 23-MC-00004
  AMERICAN ACADEMY OF
  PEDIATRICS,
  et al.,


  AUGUST DEKKER, et al.,

                   Plaintiffs,
  V.                                             Northern District of Florida
                                                 Case No. 4:22-cv-325-RH-MAF
  JASON WEIDA, et al.,

                   Defendants.


                            DECLARATION OF JOSHUA E. PRATT

       Joshua E. Pratt, applying for appearance pro hav vice pursuant to Local Rule 83 .2(c),

hereby declares:

       1.     My full legal name is Joshua Elliott Pratt.

       2.     My office address is Holtzman Vogel, 119 South Monroe Street, Tallahassee, FL

32301. My telephone number is 850-879-3339.

       3.     I have been admitted to the following Bars:

              a. The State of Florida.

              b. The U.S. Court of Appeals for the Eleventh Circuit.

              c. The U.S. District Court for the Northern District of Florida.

              d. The U.S. District Court for the Middle District of Florida.

              e. The U.S. District Court for the Southern District of Florida.

       4.     I certify that I have not been disciplined by any Bar.
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         5.     I have been admitted pro hac vice in this Court zero (0) times within the past two

years.

         6.     I do not engage in the practice of law from any office located in the District of

Columbia, not am I a member of the District of Columbia Bar, nor do I have an application for

membership pending.

         7.     This declaration is accompanied by the requisite certificate from the Bar of the State

of Florida, in which I regularly practice, showing that I am a member in good standing of the Bar

of the State of Florida.

         WHEREFORE, Joshua E. Pratt respectfully requests that the Court permit him to appear

pro hac vice as additional counsel on behalf of Defendants Jason Weida and the Florida Agency

for Health Care Administration in the above captioned matter.

                                               Respectfully submitted,



                                              J ~ t t (FBN 119347)
                                              jpratt@holtzmanvogel.com
                                               HOLTZMAN VOGEL BARAN
                                               TORCHINSKY & JOSEFIAK PLLC
                                               119 S. Monroe St., Suite 500
                                               Tallahassee, FL 32301
Dated: January 20, 2023                        (850) 879-3339




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                                    The Florida Bar
                                          651 East Jefferson Street
                                         Tallahassee, FL 32399-2300
    Joshua E. Doyle                                                                 850/561-5600
   Executive Director                                                           www.FLORIDABAR.org

 State of Florida       )
 County of Leon         )                      In Re: 0119347
                                                      Joshua Elliott Pratt
                                                      Holtzman Vogel
                                                      119 S Monroe St
                                                      Tallahassee, FL 32301-1591
I CERTIFY THE FOLLOWING:

I am the custodian of membership records of The Florida Bar.

Membership records of The Florida Bar indicate that The Florida Bar member listed above was admitted to
practice law in the state of Florida on September 29, 2015.

The Florida Bar member above is an active member in good standing of The Florida Bar who is eligible to
practice law in the state of Florida.

Dated this 20th day of January, 2023.




Cynthia B. Jackson, CFO
Administration Division
The Florida Bar

PG:R10
CTM-213512
